






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



DELIA MARTINEZ,


                            Appellant,


v.


GUSTAVO SILVA,


                            Appellee.
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No. 08-08-00166-CV



Appeal from the


120th District Court


of El Paso County, Texas


(TC#2006-5186)


MEMORANDUM OPINION


	This appeal arises from an auto accident suit filed by Delia Martinez against Gustavo Silva. 
Following a zero verdict on damages, the court entered  a take-nothing judgment.  Martinez files this
appeal pro se.

DISCUSSION

	On appeal Martinez argues that the trial court erred in admitting evidence.  Martinez argues
that "cases of precedence were mentioned and not presented to the court as hard evidence" and that
"[p]rior records that did not pertain to the case at hand were presented as well."  She argues that the
defense "caus[ed] a bias in the trial and to the jury by misrepresentation of the facts of the case" and
that defense counsel "ordered for the judge to exclude the [medical records] citing that there was not
adequate time to review the evidence."  This Court is unable to review Appellant's complaints
because the Appellant has failed to provide the reporter's record.

	While it is true that Martinez is a pro se appellant, this Court holds pro se parties to the same
standard as licenced attorneys.  Martinez v. El Paso County, 218 S.W.3d 841, 844 (Tex.App.-El
Paso 2007, pet. struck).  A pro se litigant is required to properly present his case on appeal, just as
he is required to do at the trial court.  Id.  All litigants must be held to the same standard because if
we gave pro se litigants more leeway they would have an unfair advantage over those parties
represented by counsel.  Id.  Therefore, Appellant's failure to provide the required reporter's record
cannot be excused.

	The trial record is essential in order for this Court to review Appellant's evidentiary
challenges and to determine whether error was committed in admitting or excluding evidence. 
Ultimately, Appellant was responsible for furnishing this Court with a record supporting the issues
on appeal.  Carter v. Carter,  225 S.W.3d 649, 651 (Tex.App.-El Paso 2006, no pet.); see also
Simon v. York Crane &amp; Rigging Co., Inc., 739 S.W.2d 793, 795 (Tex. 1987).  This Court must
presume no error or abuse of discretion occurred in the absence of a record to review.  Carter, 225
S.W.3d at 651.

CONCLUSION

	The trial court's judgment is affirmed.


						GUADALUPE RIVERA, Justice


August 12, 2009


Before Chew, C.J., McClure, and Rivera, JJ.


